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                    IN THE UNITED STATES DISTRICT COURT
                     FOR THE MIDDLE DISTRICT OF GEORGIA
                               ATHENS DIVISION

BASF AGRO B.V.,                              *
MERIAL LIMITED, and
MERIAL SAS,                                  *

      Plaintiffs,                            *

vs.                                          *

CIPLA LIMITED, et al.,                       *       CASE NO. 3:07-CV-125 (CDL)

      Defendants,                            *

VELCERA, INC., and                           *
FIDOPHARM, INC.,
                                             *
      Intervenors.
                                             *

                                      O R D E R

      In   a   previous      Order,     the      Court   found    Defendant     Cipla,

Limited    and      Intervenors       Velcera,      Inc.    and    FidoPharm,      Inc.

(collectively,           “Velcera”)     in       contempt    for     violating       an

injunction prohibiting infringement of Plaintiffs Merial Limited

and Merial SAS’s (collectively, “Merial”) ‘329 Patent.                        In that

Order, the Court concluded that monetary sanctions against Cipla

and   Velcera,      including     attorneys’        fees    and   costs,   would     be

determined     at    a    subsequent    damages      hearing.       The    Court   has

scheduled the damages hearing to begin August 27, 2012, and the

parties are presently conducting discovery regarding the damages

phase of the action.             Pending before the Court is Velcera’s

Emergency Motion to Compel Unredacted Attorneys’ Fees Invoices
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and To Extend the Expert Disclosure Deadline (ECF No. 251).                  For

the following reasons, Velcera’s motion is granted to the extent

described in this Order.

                                  DISCUSSION

     Velcera      argues    in    its       motion    to   compel   that     the

reasonableness of Merial’s attorneys’ fees will be at issue in

the damages hearing, and Velcera asserts that the attorneys’ fee

invoices   that    Merial   has    produced      during    discovery   are    so

heavily redacted that Velcera cannot meaningfully challenge the

reasonableness of the fee requests.                  Merial   argues that the

attorneys’ fee invoices are protected by the attorney-client and

work product privileges.

I.   Merial’s Redaction of Its Attorneys’ Fee Invoices

     “[T]he starting point in any determination for an objective

estimate of the value of a lawyer’s services is to multiply

hours reasonably expended by a reasonable hourly rate.” Norman

v. Hous. Auth. of Montgomery, 836 F.2d 1292, 1299 (11th Cir.

1988); see also Sizzler Family Steak Houses v. Western Sizzlin

Steak House, Inc., 793 F.2d 1529, 1534 (11th Cir. 1986) (noting

that “an award of attorney fees to the injured party in a civil

contempt case is within the district court’s discretion” and

that “reimbursement to a prevailing movant may include expenses

reasonably and necessarily incurred in the attempt to enforce

compliance”) (internal quotation marks omitted).               Merial, as the


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fee applicant, “bears the burden of establishing entitlement and

documenting the appropriate hours and hourly rates.”                  Am. Civil

Liberties Union of Ga. v. Barnes, 168 F.3d 423, 427 (11th Cir.

1999);    accord Oxford Asset Mgmt., Ltd. v. Jaharis, 297 F.3d

1182, 1195 (11th Cir. 2002) (“Our precedent places the burden of

documenting the appropriate hours and hourly rates on the fee

applicant.”).       “That burden includes ‘supplying the court with

specific     and    detailed    evidence      from   which    the    court   can

determine the reasonable hourly rate.’”                 Am. Civil Liberties

Union of Ga., 168 F.3d at 427 (quoting Norman, 836 F.2d at

1303).        Counsel should “maintain[] records to show the time

spent on the different claims, and the general subject matter of

the   time    expenditures     ought   to    be   set   out   with   sufficient

particularity so that the district court can assess the time

claimed for each activity.”            Id. (quoting Norman, 836 F.2d at

1303); see also M.D. Ga. R. 54.1 (requiring a prevailing party

to provide the Court with, among other things, “[a]n itemized

bill in which all segments of time are identified as to the

nature of the work performed”).             Moreover, counsel must exercise

“billing judgment” and must exclude from their fee applications

“excessive, redundant, or otherwise unnecessary” hours.                 Hensley

v. Eckerhart, 461 U.S. 424, 434 (1983).

      Review of Merial’s attorneys’ fee invoices reveals that the

descriptions of the activities conducted by each attorney are so


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heavily       redacted       that    they       do    not    provide     the       Court    with

sufficient          particularity           for       the     Court      to     assess       the

reasonableness         of    the     time    claimed        for   each    activity.         For

example, the redacted invoices contain time entries that include

descriptions that say “Prepare REDACTED,” “Review REDACTED” and

“Draft REDACTED.”             E.g., Velcera’s Mot. to Compel Ex. B, Fee

Invoice MER-CIPLA-001336, ECF No. 251-2.                          If the Court attempted

to   evaluate        whether       Merial       exercised      “billing       judgment,”      it

would     be    extremely           difficult         to     decide     whether       Merial’s

attorneys’          hours     are     excessive,            redundant,        or     otherwise

unnecessary, because the Court cannot decipher from the redacted

invoices the task that each attorney worked on for each time

entry.     See Oxford Asset Mgmt., Ltd., 297 F.3d at 1196 (noting

that    fee    applications          that    were      “so    redacted        that   it    [was]

impossible to tell (beyond ‘research’) what the attorney was

doing” were likely inadequate because the court “could not have

determined how many hours were spent defending each claim or

accomplishing any particular task,” and the court “could not

have assessed whether any hours should [have been] excluded (as

redundant or unnecessary) or the hourly rate reduced (because

the number of hours submitted for a particular activity was

excessive)”).               Providing       a     description          that     an    attorney

conducted       a    “review,”        or    “research,”           or   “drafted”      a     non-

specified document is too vague to allow the Court to assess


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whether the time spent on the activity was reasonable.                       See id.

at 1197 (cautioning “that where a significant number of entries

are severely redacted or it appears that fee counsel has failed

to use billing judgment, it may be an abuse of discretion to

award fees based on redacted entries”).

       Velcera, as the party opposing the fee application, has

obligations as well.            “In order for courts to carry out their

duties in this area, ‘objections and proof from fee opponents’

concerning hours that should be excluded must be specific and

‘reasonably precise.’” Am. Civil Liberties Union of Ga., 168

F.3d at 428 (quoting Norman, 836 F.2d at 1301).                            Thus, for

Velcera to satisfy its obligation to specifically and precisely

object to Merial’s fee requests as unreasonable, Velcera must

have   access     to    Merial’s     attorneys’     fee    invoices   without      the

extensive redaction that is currently hindering any meaningful

review of the activities conducted by Merial’s attorneys.                        Given

Velcera’s    obligation        to   make   specific      objections   to    Merial’s

invoices, Merial’s concession that it will submit the attorneys’

fee    invoices    to    the   Court      in    camera   is   inadequate    to    give

Velcera    an   opportunity         to   contest   the    reasonableness     of   the

charges.

       The Court finds that Merial’s fee invoices that have been

produced to Velcera are so heavily redacted that they do not

provide sufficient descriptions of the activities conducted by


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Merial’s attorneys to allow Velcera or the Court to conduct a

meaningful review into whether the fees claimed by Merial are

reasonable.         Thus, the Court grants Velcera’s motion to compel

unredacted versions of Merial’s fee invoices and requires Merial

to provide sufficient descriptions of the tasks worked on by

each attorney for each time entry.

II.    Merial’s Claim of               Attorney-Client         Privilege         and    Work
       Product Privilege

       Merial argues that the fee invoices are protected by the

attorney-client privilege and constitute protected work product.

The general rule, however, is that the receipt of attorneys’

fees is not a privileged matter.                   In re Grand Jury Matter No.

91-01386, 969 F.2d 995, 997 (11th Cir. 1992).                           Beyond Merial’s

blanket       assertion      that   the    fee     invoices      are    privileged          and

protected       work        product,    Merial      has       made     no    attempt         to

demonstrate that each particular entry is protected by either

the    attorney-client         privilege      or   the    work   product         privilege.

Accordingly, at this point, Merial has failed to demonstrate

that    any    of     the    entries    are   protected.               Moreover,       it    is

unlikely       that    any     future     attempt        by   Merial        to   establish

privilege would be successful.                The Court cannot conceive of any

justification for seeking fees for particular legal work and yet

not being required to describe in reasonable detail the nature

of the work for which compensation is sought.




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      The Court clarifies that in granting the motion to compel,

the   Court     is    not    prohibiting        Merial       from    redacting       clearly

privileged material while also providing the Court and Velcera

with sufficient information regarding the work done to enable

the Court and Velcera to reasonably evaluate the fee request.

The Court finds, however, that Merial’s first redactions are

overly broad.

      In conclusion, the Court grants Velcera’s motion to compel

unredacted        versions    of    Merial’s      fee        invoices       sufficient    to

provide Velcera with a description of the task worked on by each

attorney      for    each    time    entry.        To    the       extent     that    Merial

continues to maintain that certain entries are protected by the

attorney client and/or work product privileges, the Court orders

Merial     to   minimize      its    redactions         in    a     manner    that    allows

Velcera     and     the   Court     to   ascertain       the       nature    of   the   work

performed.          Merial shall produce the fee invoices to Velcera

within seven days of today’s Order, and Velcera shall supplement

its   expert        report    within     seven     days           after     receiving    the

production.1




1
  Velcera noted in its reply brief that it would serve an initial
expert report if the July 16, 2012 expert report deadline passed prior
to the Court’s ruling on the motion. The Court presumes that Velcera
has done so, and the Court grants Velcera’s motion to extend the
expert report deadline to allow Velcera to supplement, rather than
initially serve, its report.



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                               CONCLUSION

     For the reasons explained above, Velcera’s Motion to Compel

Unredacted Attorneys’ Fees Invoices and To Extend the Expert

Disclosure   Deadline   (ECF   No.   251)   is   granted   to   the   extent

described in this Order.


     IT IS SO ORDERED, this 25th day of July, 2012.

                                         S/Clay D. Land
                                                  CLAY D. LAND
                                          UNITED STATES DISTRICT JUDGE




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